MIEDCase     4:18-cv-11451-LVP-EAS
    (Rev. 04/09/06) Notice of Appeal                       ECF No. 26 filed 08/13/18                          PageID.990         Page 1 of 1

                                                    UNITED STATES DISTRICT COURT
                                                    EASTERN DISTRICT OF MICHIGAN


     Speech First, Inc.,

                    Plaintiff(s),                                             Case No.                   4:18-cv-11451-LVP-EAS

v.                                                                            Judge                      Judge Linda V. Parker

     Mark Schlissel, et al.,                                                  Magistrate Judge Elizabeth A. Stafford


                    Defendant(s).
                                                                     /


                                                                 NOTICE OF APPEAL

         Notice is hereby given that                         Speech First, Inc.                                                       appeals
                                                                                       [Name of Party]

to the United States Court of Appeals for the Sixth Circuit from the:                                    “ Judgment         X
                                                                                                                            “     Order

“ Other:
                                       August 6, 2018
entered in this action on                                                .
                                                  [Date]



            August 13, 2018                                                       /s/ John A. Di Giacomo
Date:
                                                                             Signature
                   Retained                                                       P73056
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Appellant: Please file this form with the District Court Clerk’s Office. If you are paying the filing fee, please make
your $505.00 check payable to: Clerk, U.S. District Court.
